Case 6:24-cv-00649-JA-DCI Document 1-2 Filed 04/04/24 Page 1 of 5 PageID 17




              COMPOSITE
               EXHIBIT 2
 of account:
                    Case 6:24-cv-00649-JA-DCI Document 1-2 Filed 04/04/24 Page 2 of 5FORM
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                         Page 1
                                                                                                                                                                                               CLASS                      REGISTRATION NO.

                         gpplication for Registration of a (!(aim to (!opyright                                                                                                                                       Efo140554
.s .!. ..Ont •. ,        10 a musical composition the ·author of which is not a citizen or domiciliary of the United
                             states of America and which was not first published in the United States of America
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                         l"struc:tions: Make u.re that all applicnble spaces have been                                                            together with the items specified in either Option A or B:
                         conipleted before you submit the form. The application must                                                                 D Optio11 A: One copy of the musical composition and a
                         be SIGNED at line 9. .For published works the application                                                                f~e of $6. Make reminaace payable to the Register of Copy•
                         should not be submitted until after rhe date of publication                                                              nghts.
                           iven In line 4 (a), and should state the facts which existed oo                                                            D O-ptio11 B: Two copies of the musical composition and a
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                         p~blished works the name(s) should ordinarily be the same as in the notice of copyright on the copies of the work deposited.

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                        3, Authors: Citizenship and domicile information must be                                                                  words, arrangers, compilers, etc. li the copyright claim is
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                         we.re first placed on sale, sold, or publicly distributed. The                                                           (month, day, and year) must be given.)
                                                                                                        November                             10                      1969
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9. Certification:
                                      I CERTIFY that the statements made by me in this application are correct to the
(Application                                    best of my knowledge.
not acceptable
unless signed)


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Class C Form G-Lecture or similar production prepared for oral delivery.
Class D Form D- Dramatic or dmm.atico-musical composition.
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        Form U-Notice of use of copyrighted music on mechanical instruments.

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                       MORE ON BACK ►             • Complete all applicable spaces (numbers 5-9) on the reverse side of this page.                                                   DONOT~~ERE
                                                  • See detailed instructions.                    • Sign the form at line 8.
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                    Case 6:24-cv-00649-JA-DCI Document 1-2 Filed 04/04/24 Page 5 of 5 PageID 21
                                                                                                                        EXAMINED BY                                                                      FORM PA

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       * Added by C.O. from application received                                                                        ± CORRESPONDENCE                                                                  FOR
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a. D This is the first published edition of a work previously registered in unpublished form.
b. D This is the first application submitted by this author as copyright claimant.
c. D This is a changed version of the work, as shown by space 6 on this application.
If your answer is "Yes," give: Previous Registration Number T                                      Year of Registration T


DERIVATIVE WORK OR COMPILATION Complete both space 6a and 6b for a derivative work; complete only 6b for a compilation.
a. Preexisting Material Identify any preexisting work or works that this work is based on or incorporates. T


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b. Material Added to This Work Give a brief, general statement of the material that has been added to this work and in which copyright is claimed. T




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Name T                                                                     Account Number T

                BUG MUSIC                                                                                             DAO 41947

CORRESPONDENCE Give name and address to which correspondence about this application should be sent.                                        Name/ Address/ Apt/City /State/ZIP T

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               Hollywood, CA. 90028                                                                                                                                                                      daytime phone
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CERTIFICATION• I, the undersigned, hereby certify that I am the
Check only one T
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D other copyright claimant
□ owner of exclusive right(s)

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                       Name of author or other copyright claimant, or owner of exclusive right(s) A


of the work identified in this application and that the statements made
by me in this application are correct to the best of my knowledge.

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     .CQnnie Ambrosch                                                                                                                            date ►      April 8_.,_1_9_9.A__
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